

MacAllister v MSM, Inc. (2023 NY Slip Op 03631)





MacAllister v MSM, Inc.


2023 NY Slip Op 03631


Decided on June 30, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 30, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., BANNISTER, MONTOUR, AND GREENWOOD, JJ.


489 CA 22-01772

[*1]THOMAS G. MACALLISTER, DERIVATIVELY AS A MEMBER AND MANAGER OF MIRROR SHOW PROPERTIES, LLC, PLAINTIFF-RESPONDENT,
vMSM, INC., AND DONNA SHULTZ, DEFENDANTS-APPELLANTS. (APPEAL NO. 1.) 






WARD GREENBERG HELLER &amp; REIDY LLP, ROCHESTER (JOSHUA M. AGINS OF COUNSEL), FOR DEFENDANTS-APPELLANTS. 
ADAMS LECLAIR LLP, ROCHESTER (STEVEN E. COLE OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Monroe County (J. Scott Odorisi, J.), entered May 16, 2022. The order, inter alia, granted in part the motion of plaintiff for summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on May 30, 2023,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: June 30, 2023
Ann Dillon Flynn
Clerk of the Court








